979 F.2d 216
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.DON SHAPIRO INDUSTRIES, INC., Appellant,v.IOWA STATE UNIVERSITY OF SCIENCE AND TECHNOLOGY, Appellee.
    No. 92-1232.
    United States Court of Appeals, Federal Circuit.
    Sept. 11, 1992.
    
      On Appeal from the United States Patent and Trademark Office, Trademark Trial and Appeal Board, in Case No(s).  82,794.
      PTO
      AFFIRMED.
      ARCHER, MICHEL and RADER, Circuit Judges:
      Judgment
      PER CURIAM.
    
    
      1
      AFFIRMED.  Fed.Cir.R. 36.
    
    